           Case 2:06-cr-00166-JCC         Document 15        Filed 05/11/06     Page 1 of 3




01

02

03

04

05

06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )            CASE NO. 06-224M
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   IGOR KHARITONOV,                     )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:

15          Importation of MDMA; Possession with Intent to Distribute MDMA

16 Date of Detention Hearing:     May 11, 2006

17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

18 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

19 that no condition or combination of conditions which defendant can meet will reasonably assure

20 the appearance of defendant as required and the safety of other persons and the community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          (1)    The drug offenses with which defendant is charged carry a maximum penalty in

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
     PAGE 1
           Case 2:06-cr-00166-JCC           Document 15        Filed 05/11/06      Page 2 of 3




01 excess of ten years. Therefore, there is a rebuttable presumption against the defendant as to both

02 dangerousness and flight risk, under 18 U.S.C. §3142(e).

03          (2)     Defendant represents that he is a Canadian citizen who was born in Uzbekistan.

04 It appears that he is also a Russian citizen, although he does not currently have citizenship papers.

05 He has family in Russian with whom he has regular contact. He has no family in Canada or the

06 United States. He has no ties to this District. His reported employment history is sketchy. When

07 arrested, he is alleged to have said that he has made prior trips to the United States for the

08 apparent purpose of distributing controlled substances.

09          (3)     Taken as a whole, the record does not effectively rebut the presumption that no

10 condition or combination of conditions will reasonably assure the appearance of the defendant as

11 required and the safety of the community.

12 It is therefore ORDERED:

13          (1)     Defendant shall be detained pending trial and committed to the custody of the

14                  Attorney General for confinement in a correction facility separate, to the extent

15                  practicable, from persons awaiting or serving sentences or being held in custody

16                  pending appeal;

17          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

18                  counsel;

19          (3)     On order of a court of the United States or on request of an attorney for the

20                  Government, the person in charge of the corrections facility in which defendant is

21                  confined shall deliver the defendant to a United States Marshal for the purpose of

22                  an appearance in connection with a court proceeding; and

     DETENTION ORDER                                                                            15.13
     18 U.S.C. § 3142(i)                                                                     Rev. 1/91
     PAGE 2
          Case 2:06-cr-00166-JCC         Document 15      Filed 05/11/06      Page 3 of 3




01         (4)   The clerk shall direct copies of this Order to counsel for the United States, to

02               counsel for the defendant, to the United States Marshal, and to the United States

03               Pretrial Services Officer.

04         DATED this 11th day of May, 2006.



                                               A
05

06                                             Mary Alice Theiler
                                               United States Magistrate Judge
07

08

09

10

11

12

13

14

15

16

17

18

19

20

21

22

     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
     PAGE 3
